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                       5

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                       7

                       8                             UNITED STATES BANKRUPTCY COURT

                       9                             NORTHERN DISTRICT OF CALIFORNIA

                      10                                       SAN JOSE DIVISION

                      11

                      12 In re:                                            Case No.: 18-40252-WL
FULLER LAW FIRM, PC




                      13                                                   AP No.:
 SAN JOSE, CA 95126
 60 N. KEEBLE AVE




                           HORIA SAID
                      14                                                   CHAPTER 13
     (408) 295-5595




                      15                 Debtor                            ADVERSARY PROCEEDING FOR
                                                                           PREFERENCE
                      16
                           HORIA SAID
                      17

                      18                Plaintiff

                      19 v.
                      20
                           VRINDERPAUL S. MANN
                      21
                                         Defendant
                      22

                      23

                      24

                      25 COMES NOW Plaintiff HORIA SAID and alleges as follows:

                      26 ///

                      27 ///

                      28 ///



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                                                        ADVERSARY      Entered:FOR
                                                                   PROCEEDING   06/08/18 14:59:09
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                       1                                      GENERAL ALLEGATIONS
                       2          1.      Plaintiff commenced the instant bankruptcy case by filing a voluntary Chapter 13
                       3 petition in the United States Bankruptcy Court for the Northern District of California, Oakland

                       4 Division on Jan. 30, 2018.

                       5          2.      This is an adversary proceeding to set aside an abstract of judgment lien within 90
                       6
                           days of the filing of the bankruptcy petition.
                       7
                                  3.      This Court has jurisdiction to hear these proceedings pursuant to 28 USC § 1334.
                       8
                           This is a core proceeding pursuant to 28 USC §157 because it involves substantive rights of the
                       9
                           debtors.
                      10
                                  4.      Plaintiff was the record owner of the family residence at 4597 Deep Creek Rd.
                      11
                           Fremont, CA (“Family Residence) since its acquisition on June 30, 2006.
                      12
                                  5.      On Oct. 5, 2017, before entry of judgment, the Family Residence was transferred to
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                           Asmatullah Said, her spouse. Notwithstanding the transfer, Plaintiff retained a community
                      14
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                      15 property interest in the Family Residence which is property of the estate.

                      16

                      17                                      SPECIFIC ALLEGATIONS

                      18          6.      On Oct 10, 2017 judgement was entered against Defendant Horia Said in the

                      19 Alameda County Superior Court case Vrinderpaul S. Mann v Jawad Said, et al., Case No.
                      20 HG16802566 for $387,637 with prejudgment interest at 10% per annum from Oct. 30, 2015

                      21 through Oct. 4, 2017 of $74,871.00 plus post-judgment interest of $106.20/day. Additionally

                      22 judgment was entered against Horia Said for $37,500 in punitive damages. In addition Herman

                      23 Mann was awarded costs of suit. A true and correct copy of the judgment is attached hereto as

                      24
                           Exhibit “1”.
                      25
                                  7.      On Nov. 21, 2017 an abstract of judgment was recorded in Alameda County
                      26
                           records as Document No. 2017-136017. A true and correct copy of the abstract of judgment is
                      27
                           attached hereto as Exhibit “2”.
                      28



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                       1                                       FIRST CAUSE OF ACTION
                       2                                              (PREFERENCE)
                       3           8.       Plaintiff incorporates by reference Paragraphs 1 through 7 above.
                       4           9.       Within 90 days prior to the filing of this bankruptcy petition, an abstract of
                       5 judgment lien was recorded.

                       6
                                   10.      Such lien was created at a time when Plaintiff was insolvent.
                       7
                                   11.      11 U.S.C. §101(54(D)) defines the term “transfer” to mean “each mode, direct or
                       8
                           indirect, absolute or conditional, voluntary or involuntary, of disposing of or parting with-(i)
                       9
                           property or (ii) an interest in property. The creation of the lien constitutes parting with an interest
                      10
                           in property of the bankruptcy estate.
                      11
                                   12.      Pursuant to 11 U.S.C. §547 these filings and any rights they may have created are
                      12
                           subject to set aside.
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                      15                                                  PRAYER

                      16 WHEREFORE, Plaintiff prays for judgment as follows:

                      17       a. For judgment setting aside the abstract of judgment rendering Vrinderpaul’s claim totally

                      18                 unsecured.

                      19       b. For attorney fees, costs, and other damages, all according to proof at time of trial, and

                      20       c. For other such relief as the court may deem proper.
                      21 Respectfully submitted,

                      22

                      23 Dated: April 26, 2018

                      24
                                                                   THE FULLER LAW FIRM, PC
                      25

                      26
                                                                   By: __/s/ Lars T. Fuller_____
                      27                                           Lars T. Fuller
                      28                                           Attorneys for Plaintiff




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